Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 1 of 6




                         Exhibit E
Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 2 of 6
Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 3 of 6
Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 4 of 6
Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 5 of 6
Case 5:24-cv-06920-EKL   Document 31-6   Filed 12/06/24   Page 6 of 6
